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                    EXHIBIT Q
Table C-3.                                Case 6:20-cv-00665-ADA                                               Document 33-20 Filed 12/18/20 Page 2 of 13
U.S. District Courts––Civil Cases Commenced, by Nature of Suit and District,
During the 12-Month Period Ending September 30, 2020

                                                                                                                                 U.S. Cases

                                                                                                                                   Prisoner Petitions
                                                                                                                                                                                  Habeas
                                                                                                   Motion to    Habeas                      Prison                                Corpus -       Forfeitures
Circuit and   Total Civil   Total U.S.                     Real          Tort          Civil        Vacate      Corpus         Death         Civil        Prison     Mandamus      Alien            and        Labor        Social
  District      Cases       Civil Cases   Contract       Property       Actions       Rights       Sentence     General       Penalty       Rights       Condition   and Others   Detainee        Penalties    Suits       Security       All Others


Total          470,581         47,522          413            706         1,880         1,413         6,834       2,702                 7       931           404        1,022       2,261             985        231       21,110           6,623




DC                3,780         2,327           79                  -        42           225            86          42                 1       129              5           7           4               23        10            41          1,633

     1st          5,824         1,054            9             53            36            50           189          26                 -            3           8           5         153               49            9        279            185

ME                  502           141            1              3                 -        10            16           1                 -            -           -           -               -            2            1        102               5

MA                2,767           481            5              3            22            19            73          10                 -            1           6           4         134                7            4         56            137

NH                1,209            99                -              -             2            2         14          15                 -            2           -           1          15               11            -         24              13

RI                  582            79            1              1                 3            4           9              -             -            -           1           -           4                3            3         35              15

PR                  764           254            2             46                 9        15            77               -             -            -           1           -               -           26            1         62              15

     2nd         24,873         4,884           19             70           205            82           366         133                 -        32              4          25         223             101         14         2,860            750

CT                2,036           349            2              2            26            15            21          36                 -            4           2           1           2               22            2        172              42

NY,N              1,906           493            2             27            13                6         31           6                 -            2           -           1               -           16            1        370              18

NY,E              6,520         1,072            9             11            87            24            88          14                 -        11              -          12           3               14            5        487            307

NY,S             11,392         1,372            4              5            60            30           172          26                 -            8           2           9          98               22            3        584            349

NY,W              2,787         1,529            2             16            16                3         45          50                 -            7           -           -         120               26            2      1,218              24

VT                  232            69                -          9                 3            4           9          1                 -            -           -           2               -            1            1         29              10

     3rd         34,336         3,472           33             45           166            88           424         517                 -       150            12            6         372               35        34         1,311            279

DE                1,919            68            1              2                 8            -         10               -             -            1           -           -           2                2            3         29              10

NJ               19,655         1,413           16              4            89            36            85         289                 -        91              -           1         237               12            8        424            121

PA,E              7,187           764           11              7            42            16           206           3                 -            1           1           1           4                1        11           365              95

PA,M              2,415           781            4             12            13            19            55         195                 -        55              4           3         129                6            5        264              17

PA,W              2,939           419                -         11            11            17            58          30                 -            2           7           1               -           14            5        229              34

VI                  221            27            1              9                 3            -         10               -             -            -           -           -               -            -            2              -           2




                                                                                                                                                                                                                                      Page 1 of 12
Table C-3. (September 30, 2020––Continued) Case                6:20-cv-00665-ADA Document 33-20 Filed 12/18/20 Page 3 of 13


                                                                                                  Private Cases

                                                                                                                                 Prisoner Petitions
                                                                            Motor                                                               Prison
                 Total                                          Marine     Vehicle    Other                            Habeas                  Condition
Circuit and     Private                  Real                  Personal   Personal   Personal   Other Tort    Civil    Corpus     Death        and Civil   Mandamus     Intellectual   Labor
  District    Civil Cases   Contract   Property   FELA ¹        Injury      Injury    Injury     Actions     Rights    General   Penalty        Rights     and Others    Property      Suits       All Others


Total           423,059       26,179      4,084       317         1,369      5,130   250,837        3,698     39,631    13,258       113         27,901          762         9,955     14,946        24,879




DC                1,453          118         25            4          2         20        296          24        315        28             1         79            1            38        127            375

     1st          4,770          649        313        10            62         75      1,492         128        784       142             -        202           11           166        333            403

ME                  361           53         71            1          6          8         24          11         95        14             -         29            -              8        21             20

MA                2,286          378         92            8         41         39        444          88        376        81             -         89            7           125        241            277

NH                1,110           53         18            -          2          5        824           4        113        16             -         25            -              9        17             24

RI                  503           86         49            1          9          4         95          17        104        17             -         42            3              7        35             34

PR                  510           79         83            -          4         19        105           8         96        14             -         17            1            17         19             48

     2nd         19,989        2,252        325       123            36        401      1,566         492      5,672       613             -      1,532           41         1,510      2,301          3,125

CT                1,687          225         13        12             2         27        167          72        442        40             -        338            8            41        128            172

NY,N              1,413           95         93            2          -         16        150          23        394       156             -        323            -            41         51             69

NY,E              5,448          503        125        36            21        156        413         120      1,149       147             -        165            9           401        989          1,214

NY,S             10,020        1,310         77        72            13        170        586         260      3,332       175             -        475           22           967      1,089          1,472

NY,W              1,258           93         12            1          -         27        225           9        307        87             -        218            2            57         38            182

VT                  163           26          5            -          -          5         25           8         48         8             -         13            -              3            6          16

     3rd         30,864        2,435        217        40            30        731     14,845         381      3,755     1,166        14          1,726           12         1,347      1,276          2,889

DE                1,851          198          2            -          1         12         93          15         70        42             -        106            1           823         17            471

NJ               18,242          824         64        29            21        293     12,742         169      1,113       229             -        400            1           339        602          1,416

PA,E              6,423          908         97            7          -        298      1,633         137      1,317       428             9        467            5           116        390            611

PA,M              1,634          174         15            1          -         65        171          14        456       193             1        323            3            17         76            125

PA,W              2,520          288         23            3          5         56        150          44        760       272             4        429            2            52        185            247

VI                  194           43         16            -          3          7         56           2         39         2             -           1           -              -            6          19




                                                                                                                                                                                                                Page 2 of 12
Table C-3. (September 30, 2020––Continued) Case                     6:20-cv-00665-ADA Document 33-20 Filed 12/18/20 Page 4 of 13


                                                                                                                            U.S. Cases

                                                                                                                              Prisoner Petitions
                                                                                                                                                                             Habeas
                                                                                               Motion to   Habeas                      Prison                                Corpus -       Forfeitures
Circuit and   Total Civil   Total U.S.                 Real          Tort          Civil        Vacate     Corpus         Death         Civil        Prison     Mandamus      Alien            and        Labor        Social
  District      Cases       Civil Cases   Contract   Property       Actions       Rights       Sentence    General       Penalty       Rights       Condition   and Others   Detainee        Penalties    Suits       Security      All Others

     4th         18,718         5,281           30         20           166           102         1,488        559                 -       168           136           80          30             110         17         2,033           342

MD                3,694         1,089            5          4            36            39           462          2                 -            1           1          15          10               26            6        360           122

NC,E              1,888           754            6          4                 9            8        224        125                 -        13            44           40               -           18            -        234             29

NC,M              1,162           431            2              -             5            4        228         11                 -            -           -           1           1               13            -        155             11

NC,W              1,257           416            1          1                 6            9         91         12                 -            1           -           1               -           16            2        262             14

SC                4,274           912            1          4            36                2        162         25                 -            8         10            -               -           17            3        580             64

VA,E              3,297           572            8          5            46            22           204          9                 -            8           1           5          17                6            3        159             79

VA,W              1,341           408            1          1                 7            7         61         90                 -        49              -           -           2                8            -        167             15

WV,N                814           412            1          1            14                6         33        202                 -        78            39           18               -            -            1         16              3

WV,S                991           287            5              -             7            5         23         83                 -        10            41            -               -            6            2        100              5

     5th         29,856         4,524           53        127           237           148           821        254                 5       128              8         648         486             106         12           984           507

LA,E              4,004           172            3          5            35            15            40          1                 -            -           -           4           5                2            1         38             23

LA,M                896            61            4              -             4            -         14          1                 -            -           -           -               -            7            -         24              7

LA,W              1,757           375            2          1            26                2         41         59                 -        18              2           1         135                4            -         56             28

MS,N                838           272            2          5                 4            2         15              -             -            -           -           -               -            3            -        235              6

MS,S              1,940           314            3          3            16            11            53          3                 -            2           2           -         122                5            1         80             13

TX,N              6,375         1,429           13          3            37            42           250         64                 1        39              3         631          57               24            5        124           136

TX,E              3,137           391            1          1            12                7         98         61                 3        28              -           2               -           12            1        132             33

TX,S              6,365           843           12        103            46            26           143         20                 -        13              -           5         108               29            1        171           166

TX,W              4,544           667           13          6            57            43           167         45                 1        28              1           5          59               20            3        124             95




                                                                                                                                                                                                                                 Page 3 of 12
Table C-3. (September 30, 2020––Continued) Case                6:20-cv-00665-ADA Document 33-20 Filed 12/18/20 Page 5 of 13


                                                                                                  Private Cases

                                                                                                                                 Prisoner Petitions
                                                                            Motor                                                               Prison
                 Total                                          Marine     Vehicle    Other                            Habeas                  Condition
Circuit and     Private                  Real                  Personal   Personal   Personal   Other Tort    Civil    Corpus     Death        and Civil   Mandamus     Intellectual   Labor
  District    Civil Cases   Contract   Property   FELA ¹        Injury      Injury    Injury     Actions     Rights    General   Penalty        Rights     and Others    Property      Suits    All Others

     4th         13,437        1,854        257            4         38        404      2,101         296      1,895     1,087             1      2,860          160           378        915       1,187

MD                2,605          330         69            -          4        116        458          54        421        88             -        417           56            91        221         280

NC,E              1,134          199         17            1         12          9         73          18        152       104             -        388            -            23         59          79

NC,M                731          110          5            2          -          5         64           8        127       101             -        180            -            24         47          58

NC,W                841          156         17            -          -         15         70          22        212        40             -         72            2            33        102         100

SC                3,362          393         47            -         13        135        999         104        334       286             1        630           16            31        229         144

VA,E              2,725          343         29            -          5         46        184          63        404       303             -        598           75           149        140         386

VA,W                933           81         21            -          -         38         94          13        110        99             -        380            3            11         40          43

WV,N                402           79         26            -          -         16         56           4         61        34             -         39            1            12         24          50

WV,S                704          163         26            1          4         24        103          10         74        32             -        156            7              4        53          47

     5th         25,332        3,590        858        20           319      1,346      5,174         371      2,714     1,959        13          3,398          147         1,700      1,377       2,346

LA,E              3,832          315         18        12           200        278      2,220          63        206       120             -        129            5            27         84         155

LA,M                835          115          6            -         19        131        120           4        113        30             -        209            1              1        40          46

LA,W              1,382          168         71            3         40        190        214          28        187        90             -        266            4            14         47          60

MS,N                566           89         10            1          -         29        110           6        140        53             1         73            -              6        19          29

MS,S              1,626          224         17            -          2        109        459          21        237       140             2        290            1              9        38          77

TX,N              4,946          719        181            1          -        114        976          97        559       497             5        697           99           181        250         570

TX,E              2,746          288         76            2         10         97        168          21        220       330             3        637            5           441        100         348

TX,S              5,522        1,140        325            1         48        223        639          92        577       410             2        746           23           172        448         676

TX,W              3,877          532        154            -          -        175        268          39        475       289             -        351            9           849        351         385




                                                                                                                                                                                                             Page 4 of 12
Table C-3. (September 30, 2020––Continued) Case                         6:20-cv-00665-ADA Document 33-20 Filed 12/18/20 Page 6 of 13


                                                                                                                                U.S. Cases

                                                                                                                                  Prisoner Petitions
                                                                                                                                                                                 Habeas
                                                                                                   Motion to   Habeas                      Prison                                Corpus -       Forfeitures
Circuit and   Total Civil   Total U.S.                     Real          Tort          Civil        Vacate     Corpus         Death         Civil        Prison     Mandamus      Alien            and        Labor        Social
  District      Cases       Civil Cases   Contract       Property       Actions       Rights       Sentence    General       Penalty       Rights       Condition   and Others   Detainee        Penalties    Suits       Security      All Others

   6th           23,590         3,885           21            131           110            65           646        152                 -        42            49           14          38             104         31         2,241           241

KY,E              1,433           536            3             43                 6            4         76        115                 -        30            47            -               -           18            3        173             18

KY,W              1,608           323            1             69                 5            4         25          1                 -            -           -           1               -            -            3        200             14

MI,E              3,611           533            5              3            19                9         81         13                 -            4           -           7          21               21            4        287             59

MI,W              1,570           303            1              1                 4            7         49          6                 -            1           -           -           5                2            4        201             22

OH,N              3,636           835            1              2            32                7        109          4                 -            6           2           2           5               14            6        608             37

OH,S              7,816           690            2              1            14            16            63          3                 -            1           -           4           6               15            8        509             48

TN,E              1,257           249            1              3            19                4        101              -             -            -           -           -               -            4            1        108              8

TN,M              1,384           181                -          9                 4        11            52          2                 -            -           -           -           1               18            2         57             25

TN,W              1,275           235            7                  -             7            3         90          8                 -            -           -           -               -           12            -         98             10

   7th           21,795         3,507           15             61           126            82           370        158                 -        42            47            7          53               85        18         2,025           418

IL,N              8,520         1,271            7              5            52            38            49         81                 -        24            36            3          23               17        11           574           351

IL,C              1,454           252                -          4                 6            4         69              -             -            -           -           -           9                3            1        147              9

IL,S              1,378           322            3             31            15                2         38         54                 -            8         10            1          14                7            1        131              7

IN,N              2,203           466                -          5            24                8         46          1                 -            -           -           -               -            9            1        364              8

IN,S              4,981           528            1              6            19            13           108          2                 -            7           1           1           1               29            1        323             16

WI,E              2,067           393            2              4                 4            6         38          8                 -            -           -           2           6               14            2        288             19

WI,W              1,192           275            2              6                 6        11            22         12                 -            3           -           -               -            6            1        198              8




                                                                                                                                                                                                                                     Page 5 of 12
Table C-3. (September 30, 2020––Continued) Case                6:20-cv-00665-ADA Document 33-20 Filed 12/18/20 Page 7 of 13


                                                                                                  Private Cases

                                                                                                                                 Prisoner Petitions
                                                                            Motor                                                               Prison
                 Total                                          Marine     Vehicle    Other                            Habeas                  Condition
Circuit and     Private                  Real                  Personal   Personal   Personal   Other Tort    Civil    Corpus     Death        and Civil   Mandamus     Intellectual   Labor
  District    Civil Cases   Contract   Property   FELA ¹        Injury      Injury    Injury     Actions     Rights    General   Penalty        Rights     and Others    Property      Suits    All Others

   6th           19,705        1,780        287        12            29        377      6,967         277      2,948     1,357             7      1,924           23           390      1,409       1,918

KY,E                897          111         12            -          2         51        197          21        122        45             1        150            2            12         52         119

KY,W              1,285          156          4            -         11         41        161          20        217        55             -        245            2            12        109         252

MI,E              3,078          430         67            2         10         53        243          59        736       413             -        283           10            93        231         448

MI,W              1,267          102         31            -          1         10         67          15        232       189             -        384            -            35         85         116

OH,N              2,801          305         21            3          2         47        589          45        373       295             3        157            1           110        331         519

OH,S              7,126          281         95            4          1         34      5,303          35        496       136             1        167            2            55        294         222

TN,E              1,008          125         13            2          -         40        158          28        245        44             1        133            1            23        102          93

TN,M              1,203          147         14            -          1         53        119          42        304        80             1        208            4            29        126          75

TN,W              1,040          123         30            1          1         48        130          12        223       100             -        197            1            21         79          74

   7th           18,288        1,564        114        19            13        274      3,023         223      2,749     1,183             4      4,267           25           991      1,265       2,574

IL,N              7,249          897         47            -          6         88        826         141      1,201       147             -        941            3           834        687       1,431

IL,C              1,202           64          8            1          1         18         81           5        178       101             -        597            2            16         62          68

IL,S              1,056           81         12            1          3         43        164          14        104        65             -        460            7              4        48          50

IN,N              1,737          160         18            6          -         55        135          16        327       245             -        605            -            28         65          77

IN,S              4,453          180         14            4          3         56      1,673          15        580       448             4        829            3            33        146         465

WI,E              1,674          118         12            -          -          7         95          21        218       140             -        530           10            27        187         309

WI,W                917           64          3            7          -          7         49          11        141        37             -        305            -            49         70         174




                                                                                                                                                                                                             Page 6 of 12
Table C-3. (September 30, 2020––Continued) Case                         6:20-cv-00665-ADA Document 33-20 Filed 12/18/20 Page 8 of 13


                                                                                                                                U.S. Cases

                                                                                                                                  Prisoner Petitions
                                                                                                                                                                                 Habeas
                                                                                                   Motion to   Habeas                      Prison                                Corpus -       Forfeitures
Circuit and   Total Civil   Total U.S.                     Real          Tort          Civil        Vacate     Corpus         Death         Civil        Prison     Mandamus      Alien            and        Labor        Social
  District      Cases       Civil Cases   Contract       Property       Actions       Rights       Sentence    General       Penalty       Rights       Condition   and Others   Detainee        Penalties    Suits       Security      All Others

     8th         12,383         2,575           30             25            83            81           519        126                 -        42            23           11          66               47        37         1,321           164

AR,E              2,191           355            1              1                 6        19            22         53                 -        21            19            -               -            5            2        201              5

AR,W                880           271            4              1                 8            2         19          1                 -            1           -           -               -            -            -        228              7

IA,N                429           154                -          4                 2            1         58          4                 -            1           -           -               -            1            -         79              4

IA,S                544           149            1              3                 7            3         66          5                 -            -           1           2               -           14            5         30             12

MN                2,641           441            9              2                 9        13            74         40                 -        11              1           1          62                9            8        131             71

MO,E              2,481           441            2              1            17                7         88          2                 -            -           -           1           1                7        11           285             19

MO,W              1,976           531            4                  -        16            21           121          4                 -            5           1           7           1                5            7        313             26

NE                  681            97            3              5                 7            2         24         12                 -            1           1           -           2                5            3         21             11

ND                  252            56            2              7                 4            2         23              -             -            1           -           -               -            1            -         14              2

SD                  308            80            4              1                 7        11            24          5                 -            1           -           -               -            -            1         19              7




                                                                                                                                                                                                                                     Page 7 of 12
Table C-3. (September 30, 2020––Continued) Case                6:20-cv-00665-ADA Document 33-20 Filed 12/18/20 Page 9 of 13


                                                                                                  Private Cases

                                                                                                                                 Prisoner Petitions
                                                                            Motor                                                               Prison
                 Total                                          Marine     Vehicle    Other                            Habeas                  Condition
Circuit and     Private                  Real                  Personal   Personal   Personal   Other Tort    Civil    Corpus     Death        and Civil   Mandamus     Intellectual   Labor
  District    Civil Cases   Contract   Property   FELA ¹        Injury      Injury    Injury     Actions     Rights    General   Penalty        Rights     and Others    Property      Suits       All Others

     8th          9,808        1,218         99        58             5        251      1,960         173      1,305       574             3      2,139           12           207        943            861

AR,E              1,836          112         11            3          -         50        181           8        180       105             -        977            -              8       158             43

AR,W                609           78          6            2          -         30         60           6         50         9             -        260            1            11         74             22

IA,N                275           42          3            -          -         11         54           8         39        34             -         41            -              7        13             23

IA,S                395           53          5            2          1          7         60           5        101        42             -         56            -            11         26             26

MN                2,200          256         12        10             4         15        659          41        264        80             -         97            -            70        385            307

MO,E              2,040          278         15            -          -         65        616          49        245       111             1        309            3            36        113            199

MO,W              1,445          211         26            3          -         46        189          32        270       111             2        236            5            30        107            177

NE                  584           93         12        35             -          6         88          10         89        44             -         94            -            27         46             40

ND                  196           54          7            3          -          4         29           6         34         6             -         21            -              3        16             13

SD                  228           41          2            -          -         17         24           8         33        32             -         48            3              4            5          11




                                                                                                                                                                                                                Page 8 of 12
Table C-3. (September 30, 2020––Continued)Case                          6:20-cv-00665-ADA Document 33-20 Filed 12/18/20 Page 10 of 13


                                                                                                                                U.S. Cases

                                                                                                                                  Prisoner Petitions
                                                                                                                                                                                 Habeas
                                                                                                   Motion to   Habeas                      Prison                                Corpus -       Forfeitures
Circuit and   Total Civil   Total U.S.                     Real          Tort          Civil        Vacate     Corpus         Death         Civil        Prison     Mandamus      Alien            and        Labor        Social
  District      Cases       Civil Cases   Contract       Property       Actions       Rights       Sentence    General       Penalty       Rights       Condition   and Others   Detainee        Penalties    Suits       Security       All Others

     9th         48,033         8,538           64             76           425           268           590        259                 -        75            75          149         534             139         16         4,635          1,233

AK                  380           140            2              2            19                3         19          2                 -            3           1           -               -            2            -         66              21

AZ                3,490           889            5              2            42            32            74         74                 -        23            66           17         129                8            2        349              66

CA,N              8,946           707            2              3            43            34            42          2                 -            1           1           3          40               10            2        286            238

CA,E              4,318           694            5              5            40            14            37         37                 -        18              -           2           9                4            2        458              63

CA,C             16,461         2,264           17             24           119            66            65        130                 -        22              1           5         226               64            1      1,067            457

CA,S              2,773           505            9              3            31            38            41          4                 -            -           1         118           4                8            1        180              67

HI                  608            85            3                  -        17                7           7         4                 -            2           3           2           1                1            2         24              12

ID                  605           120            1              5                 6            3         26          1                 -            -           -           -               -            2            1         55              20

MT                  650           149            4             13            16                6         27              -             -            -           1           -               -            5            -         41              36

NV                3,110           356            2              3            18            14           163          2                 -            -           -           1          10               18            3         77              45

OR                2,228           677            4              9            17            15            38              -             -            3           -           -               -           13            2        529              47

WA,E              1,170           718            2              1                 6            7         19              -             -            -           -           -               -            4            -        654              25

WA,W              3,216         1,226            8              5            49            28            32          3                 -            3           1           1         115                -            -        847            134

GUAM                  44             5               -          1                 -            -           -             -             -            -           -           -               -            -            -          2               2

NMI                   34             3               -              -             2            1           -             -             -            -           -           -               -            -            -              -            -

     10th        10,672         2,173           20             71            95            62           334         38                 1        13            18           11          37               87        14         1,177            195

CO                3,859           500            6              4            22            14            35          3                 -            2           2           2          18               35            2        263              92

KS                1,464           330            2             29                 4            4         72         28                 -            8         14            2               -           19            6        127              15

NM                1,317           351            4              2            20            12            50          3                 -            1           -           6           8               17            1        205              22

OK,N                717           220            2              9                 6            3         47              -             -            -           -           -           2                2            -        138              11

OK,E                464           208            2              1            18                5         10              -             1            -           -           -           6                -            -        159               6

OK,W              1,329           284            1             21            14            16            24          3                 -            1           2           -           3                6            4        167              22

UT                1,261           240            2              5                 7            7         80          1                 -            1           -           1               -            6            -        109              21

WY                  261            40            1                  -             4            1         16              -             -            -           -           -               -            2            1          9               6




                                                                                                                                                                                                                                     Page 9 of 12
Table C-3. (September 30, 2020––Continued)Case                     6:20-cv-00665-ADA Document 33-20 Filed 12/18/20 Page 11 of 13


                                                                                                      Private Cases

                                                                                                                                        Prisoner Petitions
                                                                                Motor                                                                  Prison
                 Total                                              Marine     Vehicle    Other                               Habeas                  Condition
Circuit and     Private                  Real                      Personal   Personal   Personal   Other Tort    Civil       Corpus     Death        and Civil   Mandamus     Intellectual   Labor
  District    Civil Cases   Contract   Property       FELA ¹        Injury      Injury    Injury     Actions     Rights       General   Penalty        Rights     and Others    Property      Suits       All Others

     9th         39,495        4,889        850            13           210        312      5,188         820     10,475        2,685        17          4,969          195         2,132      1,968          4,772

AK                  240           45          6                -         19          9         29           9         40           17             -         21            -              6        19             20

AZ                2,601          310         31                -          2         30        182          21        346          247             6        791            9            86        177            363

CA,N              8,239          672         77                1         18         14      3,122         190      1,388          331             2        600           71           445        443            865

CA,E              3,624          325         65                1          2         14        168          52        759          453             3      1,262            7            49        159            305

CA,C             14,197        1,766        425                2         84         80        732         341      5,997          728             3        540            4         1,142        637          1,716

CA,S              2,268          354         44                -          8          9        178          71        457          162             -        316           14           124        100            431

HI                  523           74         34                -         11          1         78           9        124           24             -         78            1            20         25             44

ID                  485           54          4                2          -          7         40           6         89           44             -        159            1            20         15             44

MT                  501          144         12                1          3         17         50          11         64           83             -         72            -              8        15             21

NV                2,754          403         68                1          1         76        253          42        485          226             3        520            4            76         84            512

OR                1,551          200         30                2          8         22        102          25        309          120             -        315           82            39        100            197

WA,E                452           59          7                1          -          9         41           4         81           85             -         96            1              9        23             36

WA,W              1,990          468         45                2         53         22        189          38        323          163             -        195            1           107        171            213

GUAM                 39            6              -            -          -          -         20            -        10            1             -           -           -              -            -           2

NMI                  31            9          2                -          1          2          4           1             3         1             -           4           -              1            -           3

     10th         8,499        1,806         78                7          4        312        841         160      1,886          640             6      1,232           24           275        452            776

CO                3,359          830         21                4          1         63        211          45        779          270             -        606            2           140        148            239

KS                1,134          141         12                3          -         69        154          28        255           71             -        205            3            21         51            121

NM                  966          179          9                -          -         35        113          13        262           66             -        166            3            12         42             66

OK,N                497          121          8                -          -         21         66          10         92           49             -         37            1            12         37             43

OK,E                256           49          2                -          1         16         29           6         66           27             3         39            -              3            4          11

OK,W              1,045          246         13                -          1         49        140          25        208          117             2        107           14            17         45             61

UT                1,021          198         10                -          -         19         88          27        190           25             -         57            1            64        118            224

WY                  221           42          3                -          1         40         40           6         34           15             1         15            -              6            7          11




                                                                                                                                                                                                                  Page 10 of 12
Table C-3. (September 30, 2020––Continued)Case                          6:20-cv-00665-ADA Document 33-20 Filed 12/18/20 Page 12 of 13


                                                                                                                            U.S. Cases

                                                                                                                              Prisoner Petitions
                                                                                                                                                                             Habeas
                                                                                                   Motion to   Habeas                  Prison                                Corpus -       Forfeitures
Circuit and   Total Civil   Total U.S.                     Real          Tort          Civil        Vacate     Corpus     Death         Civil        Prison     Mandamus      Alien            and        Labor        Social
  District      Cases       Civil Cases   Contract       Property       Actions       Rights       Sentence    General   Penalty       Rights       Condition   and Others   Detainee        Penalties    Suits       Security   All Others

   11th        236,721          5,302           40             27           189           160         1,001        438             -       107            19           59         265               99        19         2,203        676

AL,N              2,106           533            5              4                 6        11            51         70             -            6           3           -          43                4            1        310          19

AL,M              1,162           219                -          1                 5            4         46         32             -            6           2           1               -           10            1        103           8

AL,S                902           121            1              2                 6            3         30          2             -            -           -           -               -            3            -         71           3

FL,N           204,994            236            6              2                 7        39            39         12             -            4           4           -          36                6            -         65          16

FL,M              8,780         1,714            7              2            53            46           273         99             -        70              6          19           7               15            6        901        210

FL,S              9,808         1,102           16             16            71            25           320         94             -            6           -          26          48               15            6        227        232

GA,N              6,415           804            5                  -        23            29           128         20             -        12              -          12               -           37            5        365        168

GA,M              1,480           326                -              -             8            1         67          2             -            2           1           1         129                2            -        103          10

GA,S              1,074           247                -              -        10                2         47        107             -            1           3           -           2                7            -         58          10

                                                                                                                                                                                                                                              ¹ FEL




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Table C-3. (September 30, 2020––Continued)Case                 6:20-cv-00665-ADA Document 33-20 Filed 12/18/20 Page 13 of 13


                                                                                                  Private Cases

                                                                                                                                 Prisoner Petitions
                                                                            Motor                                                               Prison
                 Total                                          Marine     Vehicle    Other                            Habeas                  Condition
Circuit and     Private                  Real                  Personal   Personal   Personal   Other Tort    Civil    Corpus     Death        and Civil   Mandamus     Intellectual   Labor
  District    Civil Cases   Contract   Property   FELA ¹        Injury      Injury    Injury     Actions     Rights    General   Penalty        Rights     and Others    Property      Suits    All Others

   11th         231,419        4,024        661            7        621        627   207,384          353      5,133     1,824        47          3,573          111           821      2,580       3,653

AL,N              1,573          182         27            2          -         45        165          12        449        87             1        257            1            16        113         216

AL,M                943           76          8            -          -         37         79          12        138        45             4        429           34              5        24          52

AL,S                781           83         12            -          4         29        364          10        100        21             1         85            -              7        16          49

FL,N            204,758          256         19            -         11         29   203,153            8        403       201             1        456            4            25        104          88

FL,M              7,066        1,065         82            -         50        159        770          74      1,039       745        40            771           36           242        812       1,181

FL,S              8,706        1,622         89            -        546         54      1,367         152      1,732       300             -        373            8           347      1,110       1,006

GA,N              5,611          576        397            3          -        214      1,274          68        936       241             -        502           20           155        327         898

GA,M              1,154           97         13            -          -         34        101          10        222       121             -        387            7            13         47         102

GA,S                827           67         14            2         10         26        111           7        114        63             -        313            1            11         27          61

¹ FELA = Federal Employers Liability Act




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